          Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 1 of 15




 1                                                                              The Honorable John H. Chun
                                                                            The Honorable David W. Christel
 2
 3
 4
 5
 6
 7                            UNITED STATES DISTRICT COURT FOR THE
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9
                                                                     No. C23-1407-JHC-DWC
      MAHSA PARVIZ,
10
                                                  Petitioner,        GOVERNMENT’S RESPONSE TO
11                                                                   HABEAS    CORPUS       PETITION
                      v.                                             UNDER 28 U.S.C. § 2241
12
      HOWARD BARRON (Warden,
13    Federal Detention Center SeaTac), COLETTE Note On Calendar: March 29, 2024
      PETERS (Director, Bureau of Prisons),
14
                                                  Respondents.
15
16                                           I.       INTRODUCTION
17          Petitioner Mahsa Parviz is a federal prisoner confined at the Federal Detention
18 Center (FDC) in SeaTac, Washington, with an anticipated release date of January 3, 2026. 1
19 Parviz is serving a 61-month term of imprisonment imposed in the Central District of
20 California for False Statement in a Passport Application, in violation of Title 18, United
21 States Code, Section 1542, and Aggravated Identity Theft, in violation of Title 18, United
22 States Code, Section 1028A(a)(1). United States v. Parviz, No. 2:21-cr-00293-SB
23 (C.D. Cal. filed June 22, 2021), Dkt. 124. Parviz has filed a pro se habeas petition under
24 28 U.S.C. § 2241 asserting that the Bureau of Prisons (BOP) (1) must credit her federal
25 sentence with time that she spent in custody on an earlier conviction in the State of Texas,
26
            1
27              See BOP Inmate Locator, available at https://www.bop.gov/inmateloc/ (last visited Mar. 5, 2024).

     Response to Section 2241 Petition — 1                                          UNITED STATES ATTORNEY
     Parviz v. Barron, C23-1407-JHC-DWC                                            700 STEWART STREET, SUITE 5220
                                                                                     SEATTLE, WASHINGTON 98101
                                                                                           (206) 553-7970
          Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 2 of 15




 1 and (2) has incorrectly determined that she is ineligible to earn First Step Act earned time
 2 credits (FSA credits). Dkt. 9 ¶¶ 3.5–3.9. Additionally, Parviz has filed an amended petition
 3 in which she asserts that she is actually innocent of her “underlying state cases,” which
 4 invalidates her federal conviction. Dkt. 39 ¶¶ 2.1, 8.1.
 5          The Court should dismiss or deny Parviz’s petition without an evidentiary hearing.
 6 Parviz’s first claim, that she must receive credit for time served on an earlier Texas
 7 conviction, is factually wrong; her state sentence was not undischarged but, rather, fully
 8 satisfied at the time she was charged federally. Moreover, to the extent that Parviz is
 9 requesting a modification or reduction to her federal sentence based on her Texas
10 conviction, that request must be made in a motion under 28 U.S.C. § 2255 with the
11 sentencing court in the Central District of California. Parviz’s second claim, that she has
12 been incorrectly categorized as ineligible to earn FSA credits, is also premised on a factual
13 inaccuracy. The BOP has categorized Parvis as eligible to earn FSA credits and, in fact,
14 she has earned 100 credits to date. At this point, however, she is not statutorily entitled to
15 have her credits applied to her sentence. Regardless of the merits of this claim, however,
16 the Court should decline to adjudicate it, because Parviz cannot demonstrate a present
17 concrete injury and has failed to exhaust her administrative remedies. Finally, Parviz’s
18 claim of actual innocence is unsupported by the record and can only be pursued in a § 2255
19 motion with the sentencing court.
20                                           II.   BACKGROUND
21          Proceeding pro se, Parviz has filed a petition for writ of habeas corpus alleging that
22 the BOP has (1) failed to credit her for time served on “an undischarged sentence for
23 attempted kidnapping in the state of Texas,” which she is purportedly entitled to receive
24 pursuant to U.S.S.G. § 5G1.3; and (2) impermissibly categorized her as ineligible to earn
25 FSA credits. Dkt. 9 ¶¶ 3.6–3.9. The petition requests that the Court require the BOP to
26 give her credit for time served on the Texas conviction and apply her FSA credits to her
27
     Response to Section 2241 Petition — 2                           UNITED STATES ATTORNEY
     Parviz v. Barron, C23-1407-JHC-DWC                             700 STEWART STREET, SUITE 5220
                                                                      SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
            Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 3 of 15




 1 sentence. 2 Id. at p. 3. On January 9, 2024, the Court issued an Order for Service and
 2 Return, directing respondents file an answer to the petition. Dkt. 16 ¶ 2. On February 29,
 3 2024, Parviz filed an amended petition that adds a claim of actual innocence, alleging that
 4 she has been recently “alerted to fraud on the court” that would invalidate “the underlying
 5 state cases upon which the Federal convictions are based and the validity of the Federal
 6 convictions.” See Dkt. 39 ¶¶ 2.1, 8.1.
 7            Throughout the pendency of her petition, Parviz has filed numerous additional
 8 motions and requests, including requests for the issuance of subpoenas that appear to be
 9 directed at individuals associated with prior state and family court proceedings, Dkts. 3, 4,
10 10; a motion to appoint counsel, Dkt. 27; a motion for entry of an order granting her petition
11 and ordering her immediate release, Dkt. 24; a motion for an order denying respondents’
12 request for additional time to answer the petition, Dkt. 28; motions for default judgment,
13 Dkts. 32, 36; a motion for contempt and default judgment, Dkt. 33; and a notice of appeal
14 to the Ninth Circuit, Dkt. 38. 3 The Court has denied these requests. Dkts. 34, 40.
15 A.     Parviz’s Underlying Federal Conviction
16            Parviz’s federal conviction arises from a 2019 scheme in which she used a romantic
17 partner’s name and medical license number to fraudulently obtain a passport for her
18 biological child, who was in the care of a foster family after Parviz’s parental rights were
19 terminated. Parviz, No. 2:21-cr-00293-SB, Dkt. 111, p. 6. Parviz planned to kidnap and
20 take the child overseas to a non-extradition country, but she was intercepted by Texas
21
22            2
                The petition does not explicitly include a request for credit for time served on the Texas conviction but,
23   because Parviz is proceeding pro se, the government has taken pains to construe her claims liberally. See Erickson v.
     Pardus, 551 U.S. 89, 94 (2007) (concluding that documents filed by a pro se litigant “must be held to less stringent
     standards than formal pleadings drafted by lawyers”). If the Court reads the petition to contain a claim the government
24   has not addressed, the government asks that it be permitted to respond to any such claim.
25            3
                Throughout her filings, Parviz has misrepresented (at times, swearing under penalty of perjury) that the
     respondents, legal counsel for the FDC, and undersigned counsel do not oppose her requests for relief. See Dkt. 12,
26   p. 2; Dkt. 15, p. 2, Dkt. 29, p. 5, 9. No one has represented to Parviz that her request for release would be unopposed.
     Undersigned counsel has searched her records and never received the emails Parviz claims were sent to undersigned
27   counsel’s email address. See Dkt. 28, p. 5; Dkt. 29, p. 9, 10.

      Response to Section 2241 Petition — 3                                            UNITED STATES ATTORNEY
      Parviz v. Barron, C23-1407-JHC-DWC                                              700 STEWART STREET, SUITE 5220
                                                                                        SEATTLE, WASHINGTON 98101
                                                                                              (206) 553-7970
          Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 4 of 15




 1 authorities in August 2019 while posing as a social services provider and trying to lure the
 2 child’s foster mother into a one-on-one meeting. Id. at p. 8. Parviz was arrested and
 3 charged in Texas state court with attempted kidnapping. Id. at p. 4. Almost two years
 4 later, on January 5, 2021, Parviz pled guilty to attempted kidnapping and was sentenced to
 5 500 days of imprisonment. Dkt. 8, p. 7. Soon after her guilty plea and several months
 6 before she was indicted and arrested on the federal charges at issue in this petition, Parviz
 7 was released from state custody, having fully satisfied the Texas sentence. See United
 8 States v. Parviz, No. 22-50160 (9th Cir. filed July 21, 2022) (Parviz Appeal), at Dkt. 43,
 9 p. 6– 11; id. at Dkt. 51, p. 5.
10        On June 22, 2021, Parviz was federally indicted in the Central District of California
11 for False Statement in a Passport Application, in violation of Title 18, United States Code,
12 Section 1542, and Aggravated Identity Theft, in violation of Title 18, United States Code,
13 Section 1028A(a)(1). Parviz, No. 2:21-cr-00293-SB, Dkt. 1. The basis of these charges
14 was Parviz’s unauthorized use of a romantic partner’s name and medical license number
15 to fraudulently obtain a passport. Id. at Dkt. 111, p. 7. Parviz was arrested on the federal
16 charges on July 12, 2021 and detained pending trial. Id. at Dkts. 9, 18. Parviz proceeded
17 to a jury trial in December 2021 and was convicted on both counts. Id. at Dkt. 69.
18         At Parviz’s sentencing, all parties agreed that Parviz’s Texas sentence was fully
19 discharged and that she was not entitled to receive federal credit for that conviction
20 pursuant to U.S.S.G. § 5G1.3(b). See Parviz, No. 2:21-cr-00293-SB, Dkt. 111, p. 7–11
21 (government sentencing memorandum); Dkt. 113, p. 4–5 (defense sentencing
22 memorandum). In fact, Parviz’s counsel filed a sentencing memorandum recommending
23 a downward departure from the sentencing guidelines pursuant to U.S.S.G. § 5K2.23, id.
24 at Dkt. 113, p. 4–5, which applies only when a defendant “(1) has completed serving a term
25 of imprisonment; and (2) subsection (b) of § 5G1.3 . . . would have provided an adjustment
26 had that completed term of imprisonment been undischarged at the time of sentencing for
27
     Response to Section 2241 Petition — 4                          UNITED STATES ATTORNEY
     Parviz v. Barron, C23-1407-JHC-DWC                            700 STEWART STREET, SUITE 5220
                                                                     SEATTLE, WASHINGTON 98101
                                                                           (206) 553-7970
          Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 5 of 15




 1 the instant offense,” U.S.S.G. § 5K2.23. At the July 12, 2022 sentencing hearing, Parviz
 2 requested that the sentencing judge grant her a downward departure pursuant to U.S.S.G.
 3 § 5K2.23 and reduce her sentence by the amount of time she served in Texas. See Parviz
 4 Appeal, No. 22-50160, at Dkt. 43, p. 8; id. at Dkt. 51, p. 12–17. The sentencing judge
 5 rejected Parviz’s request, see id., and sentenced her to 37 months for the false statement
 6 offense and 24 months for the identify theft offense, to be served consecutively, for a total
 7 of 61 months of imprisonment. Parviz, No. 2:21-cr-00293-SB, Dkt. 121.
 8        Shortly after sentencing, Parviz filed a notice of appeal with the Ninth Circuit.
 9 Parviz, No. 2:21-cr-00293-SB, Dkt. 127. Again, in the appeal, all parties agreed that
10 Parviz’s Texas sentence was fully discharged at the time that she was charged federally.
11 See Parviz Appeal, Dkt. 43, p. 6; id. at Dkt. 51, p. 3. Parviz’s appeal does challenge the
12 district court’s failure to credit her for the Texas conviction, on the grounds that she should
13 have received a “downward departure pursuant to U.S.S.G. § 5K2.23 for credit for time
14 served on [the] discharged Texas state sentence.” Id. at Dkt. 43, p. 3, 6. Briefing in
15 Parviz’s appeal is complete, and the case is set for oral argument before the Ninth Circuit
16 on May 17, 2024.
17 B.       Parviz’s First Step Act Credits
18          1.      Time Credits Under the First Step Act
19          The First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194, directed the
20 Attorney General to make evidence-based recidivism reduction programs available to
21 inmates in BOP custody as part of a new system for risk and needs assessment. The new
22 system provides certain “incentives and awards for prisoners to participate in and complete
23 the evidence-based recidivism-reduction programs,” 18 U.S.C. 3632(d), including “time
24 credits” for prisoners who “successfully complete[]” the programs to which they are
25 assigned, id. § 3632(d)(4)(A). The time credits that a prisoner earns may be applied
26
27
     Response to Section 2241 Petition — 5                           UNITED STATES ATTORNEY
     Parviz v. Barron, C23-1407-JHC-DWC                             700 STEWART STREET, SUITE 5220
                                                                      SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
          Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 6 of 15




 1 towards an early transfer to prerelease custody, such as home confinement, or early release
 2 to supervision. Id. § 3632(d)(4)(C).
 3          The First Step Act provides that a prisoner earns FSA credits for “successful
 4 participation in evidence-based recidivism reduction programming or productive
 5 activities.” 18 U.S.C. § 3632(d)(4)(A). The BOP’s regulations, issued to implement the
 6 First Step Act, provide that a prisoner is eligible to earn FSA credits when she is
 7 “successfully participating” in evidence-based recidivism reduction programs or
 8 productive activities “that the Bureau has recommended based on the inmate’s
 9 individualized risk and needs assessment.” 28 C.F.R. § 523.41(c)(1)–(2).
10          The First Step Act further provides that FSA credits can be applied toward
11 prerelease custody or early supervised release only when (1) accumulated credits are equal
12 to the remainder of the prisoner’s prisoner term; (2) the prisoner has demonstrated a
13 recidivism risk reduction or maintained a minimum or low recidivism risk; (3) the
14 remainder of the imposed term of imprisonment has been computed; and (4) the prisoner
15 has been determined to be a minimum or low risk to recidivate based on the last needs and
16 risk assessment for supervised release, or the last two needs and risk assessments for
17 transfer to prerelease custody. 18 U.S.C. § 3624(g)(1); 28 C.F.R. § 523.44(b)–(d).
18        2.      Parviz’s FSA Credits
19          Parviz is currently categorized as eligible to earn FSA time credits and, as of
20 February 3, 2024, had earned 100 credits toward early supervised release. See Declaration
21 of Benjamin Brieschke (Brieschke Declaration) ¶ 3; Exhibit 1 (FSA Time Credit
22 Assessment). Parviz has been administered several needs and risk assessments at the FDC,
23 and she has been determined to be a high risk to recidivate in all but the most recent, when
24 she was assessed as a medium risk to recidivate. Id. ¶ 4; Ex. 1.
25
26
27
     Response to Section 2241 Petition — 6                         UNITED STATES ATTORNEY
     Parviz v. Barron, C23-1407-JHC-DWC                           700 STEWART STREET, SUITE 5220
                                                                    SEATTLE, WASHINGTON 98101
                                                                          (206) 553-7970
          Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 7 of 15




 1 C.       Parviz’s Failure to Use BOP Grievance Procedures
 2          BOP has an established an Administrative Remedy Process for inmates wanting to
 3 challenge “any aspect of his/her own confinement.” 28 C.F.R. § 542.10(a). This includes
 4 challenges to BOP’s computation of an inmate’s sentence. See United States v. Wilson,
 5 503 U.S. 329, 335 (1992). Subject to limited exceptions not applicable here, see 28 C.F.R
 6 § 542.14(d), an inmate must first seek informal resolution of the issue through the
 7 institution’s staff. Id. § 542.13. If dissatisfied with the informal response, the inmate must
 8 then formally complain to the institution’s warden. Id. § 542.14(a)-(c). If the warden
 9 denies the inmate a remedy, the inmate may appeal the denial of relief to the Regional
10 Director of the region in which he is confined. Id. § 542.15(a). Finally, if the Regional
11 Director denies relief, the inmate may appeal to BOP’s General Counsel in Washington,
12 D.C. Id. Exhaustion of administrative remedies does not occur until the inmate has
13 requested and been denied relief at all levels of BOP. See id.
14        BOP maintains records of requests for administrative remedies that it receives.
15 Brieschke Declaration ¶¶ 5–7; Exhibit 2 (Administrative Remedy Record). At the time
16 that Parviz filed her petition in September 2023, the BOP had no record of Parviz
17 submitting any administrative remedy requests regarding the computation of her sentence
18 or FSA credits, despite Parviz’s assertion that she submitted a BP-11 to the Office of
19 General Counsel. Id.; see also Dkt. 1 ¶ 3.9. The only administrative remedy requests
20 recorded for Parviz prior to February 2024 relate to disciplinary hearings of which Parviz
21 was the subject. Brieschke Declaration ¶ 7; Ex. 2, p. 2–4. On February 15, 2024, Parviz
22 filed a request for 550 days of “jail time credit” directly at the regional level. Id. The
23 remedy was rejected because it was not first filed at the institutional level, as required by
24 BOP regulations. Id. As of February 29, 2024, Parviz has not filed any administrative
25 remedy request regarding credit for her state sentence at the institutional level, nor has she
26 filed any remedy requests relating to FSA credits. Id.
27
     Response to Section 2241 Petition — 7                          UNITED STATES ATTORNEY
     Parviz v. Barron, C23-1407-JHC-DWC                            700 STEWART STREET, SUITE 5220
                                                                     SEATTLE, WASHINGTON 98101
                                                                           (206) 553-7970
           Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 8 of 15




1                                       III. ARGUMENT
2 A.         Parviz’s claim for credit for an undischarged state sentence is premised on a
             falsehood and fails to state a claim for relief under 28 U.S.C. § 2241.
3
             Parviz claims that she is entitled to 500 days of credit toward her federal sentence
4
     pursuant to U.S.S.G. § 5G1.3 because she “was serving an undischarged sentence for
5
     attempted kidnapping in the state of Texas” on the “offense date” of her federal offenses.
6
     Dkt. 9, p. 2. During Parviz’s sentencing in the Central District of California, however, no
7
     party argued that her Texas sentence was undischarged at the time of her arrest or that
8
     U.S.S.G. § 5G1.3 should apply to reduce her sentence. Moreover, the sentencing court
9
     explicitly declined to give Parviz credit for the Texas sentence, either as a downward
10
     adjustment for an undischarged sentence under § 5G1.3 or a downward departure for a
11
     discharged sentence under § 5K2.23.
12
             Parviz’s claim is not a challenge to the manner in which her sentence is being
13
     executed and calculated by the BOP; the BOP has calculated her sentence exactly as it
14
     appears in the judgment. Parviz, No. 2:21-cr-00293-SB, at Dkt. 121. Rather, Parviz is
15
     challenging the sentencing court’s decision not to credit her for her Texas conviction,
16
     which is a challenge to the legality of her sentence and properly raised only in a motion
17
     under § 2255 filed with the sentencing court. Hernandez v. Campbell, 204 F.3d 861, 864
18
     (9th Cir. 2000) (“Generally, motions to contest the legality of a sentence must be filed
19
     under § 2255 in the sentencing court, while petitions that challenge the manner, location,
20
     or conditions of a sentence’s execution must be brought pursuant to § 2241 in the custodial
21
     court.”); United States v. Drake, 49 F.3d 1438, 1440 (9th Cir. 1995) (“Credit for time
22
     served is indeed a matter which generally falls within the province of the Bureau of Prisons
23
     under 18 U.S.C. § 3585(b), . . . [but] the applicability of a Guidelines provision is a question
24
25
26
27
      Response to Section 2241 Petition — 8                            UNITED STATES ATTORNEY
      Parviz v. Barron, C23-1407-JHC-DWC                              700 STEWART STREET, SUITE 5220
                                                                        SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
           Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 9 of 15




 1 for the sentencing court.”). Parviz has thereby failed to state a valid claim under 28 U.S.C.
 2 § 2241, and this claim should be dismissed. 4
 3            It is unlikely that Parviz can pursue her claim regarding credit for the Texas
 4 conviction in any district court while the issue is before the Ninth Circuit. The Ninth
 5 Circuit has held that “[a] district court should not entertain a habeas corpus petition while
 6 there is an appeal pending in this court or in the Supreme Court,” in large part because
 7 “disposition of the appeal may render [the habeas corpus writ] unnecessary.” Feldman v.
 8 Henman, 815 F.2d 1318, 1320–21 (9th Cir. 1987) (internal quotation marks omitted)
 9 (quoting Black v. United States, 269 F.2d 38, 41 (9th Cir. 1959)). Parviz has appealed the
10 sentencing court’s decision not to reduce her sentence to account for her Texas conviction,
11 and disposition of that appeal will certainly render this claim moot. Accordingly, even if
12 this Court could entertain Parviz’s claim in a § 2241 petition (it cannot), it should decline
13 to entertain the claim – or decline to consider transferring the claim to the Central District
14 of California (where a §2255 motion would be properly venued) – until after the Ninth
15 Circuit has ruled on Parviz’s appeal of her conviction and sentence.
16 B.         Parviz’s claim for FSA credits is not ripe for review, has not been adequately
17            exhausted with the BOP, and is without merit.
              1.       The remaining claim is not ripe and should be dismissed as non-justiciable.
18
              Federal courts are limited to deciding “cases” and “controversies.” U.S. Const.
19
     art. III, § 2. One component of the “case or controversy” requirement is that a claim must
20
     be ripe for review. Bova v. City of Medford, 564 F.3d 1093, 1095–96 (9th Cir. 2009).
21
     “[R]ipeness addresses when litigation may occur[,]” Lee v. Oregon, 107 F.3d 1382, 1387
22
     (9th Cir. 1997), and, in many cases, ripeness “coincides squarely” with the requirement
23
     that a plaintiff show she suffered an “injury in fact” that is concrete and particularized.
24
25
              4
                As noted, Parviz raised this issue through an administrative remedy request filed directly at the regional
26   level, which was denied for failure to begin the request at the institutional level in accordance with BOP regulations.
     But since the BOP is not empowered to adjudicate a claim challenging the legality of a district court’s sentence, it
27   would be futile to require Parviz to exhaust this claim through BOP’s administrative grievance procedures.

      Response to Section 2241 Petition — 9                                            UNITED STATES ATTORNEY
      Parviz v. Barron, C23-1407-JHC-DWC                                              700 STEWART STREET, SUITE 5220
                                                                                        SEATTLE, WASHINGTON 98101
                                                                                              (206) 553-7970
         Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 10 of 15




 1 Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1138 (9th Cir. 2000) (en
 2 banc). A claim is therefore not ripe for adjudication “if it rests upon contingent future
 3 events that may not occur as anticipated, or indeed may not occur at all.” Texas v. United
 4 States, 523 U.S. 296, 300 (1998) (quoting Thomas v. Union Carbide Agric. Prods. Co.,
 5 473 U.S. 568, 580–81 (1985) (internal quotation marks omitted)). The ripeness doctrine is
 6 “designed to prevent the courts, through avoidance of premature adjudication, from
 7 entangling themselves in abstract disagreements over administrative policies, and also to
 8 protect the agencies from judicial interference until an administrative decision has been
 9 formalized and its effects felt in a concrete way by the challenging parties.” Nat’l Park
10 Hosp. Ass’n v. Dept’ of Interior, 538 U.S. 803, 807–08 (2003) (quoting Abbot Labs. v.
11 Gardner, 387 U.S. 136, 148–49 (1967) (internal quotation marks omitted)).
12      Parviz does not have an immediate concrete injury that would be redressed by her
13 request that her FSA credits be immediately applied, because any ruling by the Court will
14 have no impact on her current custody status or her earliest possible release from BOP
15 custody. See Ford v. Chapman, 371 F. App’x 513, 514 (5th Cir. 2010) (finding petitioner’s
16 release was not imminent and the petitioner therefore “failed to establish an ‘immediate
17 injury’ that would be redressed by the relief that she seeks”). A prisoner is not entitled to
18 have FSA credits applied until she has “[e]arned FSA Time Credits in an amount that is
19 equal to the remainder of the inmate’s imposed term of imprisonment.” 28 C.F.R.
20 § 523.44(b)(1). Parviz has not come close to earning enough FSA credits to have an
21 immediate entitlement to any credit against her custodial sentence. She has more than two
22 years left to serve on her sentence, and she has earned only 100 days of FSA credits.
23          Moreover, these credits are not static, and they may change or be lost depending on
24 a variety of circumstances, including if Parviz opts out of recidivism reduction
25 programming or violates certain rules and requirements, see 18 U.S.C. § 3632(e), or if her
26 assessed risk of recidivism changes, see id. § 3632(d)(4)(A). Parviz’s FSA credits and
27
     Response to Section 2241 Petition — 10                         UNITED STATES ATTORNEY
     Parviz v. Barron, C23-1407-JHC-DWC                            700 STEWART STREET, SUITE 5220
                                                                     SEATTLE, WASHINGTON 98101
                                                                           (206) 553-7970
         Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 11 of 15




 1 projected release date may therefore change throughout the next two years, and any
 2 adjudication of her claim for FSA credits is thereby premature. Her claim is not currently
 3 ripe, will not be ripe for at least a year, and should be dismissed.
 4        2.      Parviz has not exhausted her administrative remedies.
 5          An inmate may challenge BOP’s sentencing “calculation—in other words, the
 6 execution of the sentence—by filing a petition for a writ of habeas corpus under 28 U.S.C.
 7 § 2241.” Zavala v. Ives, 785 F.3d 367, 370 n.3 (9th Cir. 2015). This includes a challenge
 8 to BOP’s computation of FSA time credits. Cf. Preiser v. Rodriguez, 411 U.S. 475, 487
 9 (1973) (deprivation of “good-conduct-time” credits may be challenged in a § 2241
10 petition). However, “[t]he doctrine of exhaustion of administrative remedies . . . provides
11 ‘that no one is entitled to judicial relief for a supposed or threatened injury until the
12 prescribed administrative remedy has been exhausted.’” McKart v. United States, 395 U.S.
13 185, 193 (1969) (citation omitted).
14          While § 2241 has no exhaustion requirement, “[a]s a prudential matter[] courts
15 require that habeas petitioners exhaust all available judicial and administrative remedies
16 before seeking relief under § 2241.” Ward v. Chavez, 678 F.3d 1042, 1045 (9th Cir. 2012).
17 This is because exhaustion of administrative remedies aids “judicial review by allowing
18 the appropriate development of a factual record in an expert forum,” conserves “the court’s
19 time because of the possibility that the relief applied for may be granted at the
20 administrative level,” and allows “the administrative agency an opportunity to correct
21 errors occurring in the course of administrative proceedings.” Ruviwat v. Smith, 701 F.2d
22 844, 845 (9th Cir. 1983). Unless some exception to the exhaustion rule applies, a § 2241
23 petition should be dismissed if the petitioner has failed to exhaust her administrative
24 remedies. See Martinez, 804 F.2d at 571; Chua Han Mow v. United States, 730 F.2d 1308,
25 1313–14 (9th Cir. 1984).
26
27
     Response to Section 2241 Petition — 11                       UNITED STATES ATTORNEY
     Parviz v. Barron, C23-1407-JHC-DWC                          700 STEWART STREET, SUITE 5220
                                                                   SEATTLE, WASHINGTON 98101
                                                                         (206) 553-7970
          Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 12 of 15




 1           Parviz has not exhausted her administrative remedies regarding the application of
 2 her FSA time credits, and there is no record of her having tried to resolve this issue through
 3 the appropriate channels within the BOP. This is a matter in which requiring the exhaustion
 4 of administrative remedies would be prudent. Parviz has ample time to pursue her claims
 5 administratively, and the process would focus and clarify her claim and provide the Court
 6 with a more developed record from which to decide the merits.
 7        3.    BOP has not classified Parviz as ineligible to earn FSA time credits.
 8           Parviz’s remaining claim – that the BOP has incorrectly taken the position that she
 9 is not eligible to earn FSA credits – should also be denied on the merits. Records from the
10 BOP demonstrate that Parviz’s claim is false, and she has been categorized as eligible to
11 earn FSA credits and has earned 100 days of credit thus far. See Brieschke Declaration,
12 ¶ 3; Ex. 1. Parviz has further requested that the Court direct the BOP to apply her FSA
13 credits but, as a matter of law, Parviz is not currently entitled to application of those credits.
14 Parviz has not accumulated credits equal to the remainder of her term, nor has she been
15 determined to be a minimum or low risk to recidivate. See 18 U.S.C. 3624(g)(1); 28 C.F.R.
16 § 523.44(b)–(d).
17 C.        Parviz’s claim of actual innocence is wholly unsupported and can only be
18           brought in a § 2255 motion with the sentencing court.
             An actual innocence claim must be brought in a § 2255 motion except “in cases
19
     where unusual circumstances make it impossible or impracticable to seek relief in the
20
     sentencing court.” Jones v. Hendrix, 599 U.S. 465, 478 (2023). This is a rare situation,
21
     limited to cases where the sentencing court “no longer exists” or perhaps where some
22
     external impediment prevents the defendant from bringing a § 2255 motion in the
23
     sentencing court. Id. at 474–75. Parviz has not shown that her case fits this narrow
24
     exception. And the fact that Ninth Circuit precedent precludes the sentencing court from
25
     ruling on a § 2255 motion until her direct appeal is resolved does not entitle her to bring a
26
     § 2241 petition at this juncture. See id. at 480–81.
27
      Response to Section 2241 Petition — 12                           UNITED STATES ATTORNEY
      Parviz v. Barron, C23-1407-JHC-DWC                              700 STEWART STREET, SUITE 5220
                                                                        SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
         Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 13 of 15




 1          Nor could Parviz bring her actual innocence claim in a § 2241 petition under the
 2 Ninth Circuit’s pre-Jones standards (assuming they still apply). To do so, the petitioner
 3 must show that she “has not had an unobstructed procedural shot at presenting that claim”
 4 of actual innocence in a § 2255 motion. Stephens v. Herrera, 464 F.3d 895, 897 (9th Cir.
 5 2006). Parviz has never attempted to present her actual innocence claim in a § 2255 motion
 6 and, since her direct appeal is still pending, the time for her to do so has not even started to
 7 run. See 28 U.S.C. § 2255(f)(1). Parviz will be free to raise this claim in a § 2255 motion
 8 once her direct appeal is decided, which means she has not been deprived of an
 9 unobstructed procedural shot at doing so. See Harrison v. Ollison, 519 F.3d 952, 960
10 (9th Cir. 2008) (“In determining whether a petitioner had an unobstructed procedural shot
11 to pursue his claim,” a court considers “whether the legal basis for petitioner's claim ‘did
12 not arise until after he had exhausted his direct appeal and first § 2255 motion.’”) (citation
13 omitted).
14          Parviz has also not provided the Court with any evidence showing that she is
15 innocent of her state convictions and, even if she could, her Texas conviction for attempted
16 kidnapping is not an “underlying” conviction upon which her federal convictions
17 depend. Parviz was convicted federally for unauthorized use of a romantic partner’s
18 identifying information to make false statements on a passport application; invalidation of
19 any of her state convictions would have no bearing on the federal conviction. Without a
20 plausible actual innocence theory, a petitioner cannot pursue that claim in a § 2241
21 petition. See Lorentsen v. Hood, 223 F.3d 950, 954–56 (9th Cir. 2000).
22                                  IV. CONCLUSION
23          Parviz is not being held in custody in violation of the provisions of the First Step
24 Act or any other law. She has failed to present claims that can be remedied by a § 2241
25 petition, and her remaining claims are non-justiciable, have not been exhausted
26
27
     Response to Section 2241 Petition — 13                           UNITED STATES ATTORNEY
     Parviz v. Barron, C23-1407-JHC-DWC                              700 STEWART STREET, SUITE 5220
                                                                       SEATTLE, WASHINGTON 98101
                                                                             (206) 553-7970
         Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 14 of 15




1 administratively, and are without merit. Accordingly, respondents respectfully request
2 that the Court dismiss the petition.
3                   DATED this 7th day of March, 2024.
4                                                  Respectfully submitted,
5
                                                   TESSA M. GORMAN
6                                                  United States Attorney
7
                                                   s/ Lyndsie R. Schmalz
8                                                  LYNDSIE R. SCHMALZ
                                                   Assistant United States Attorney
9
                                                   700 Stewart Street, Suite 5220
10                                                 Seattle, WA 98101-1271
                                                   Telephone: (206) 553-2687
11                                                 Fax:          (206) 553-0755
12                                                 Email: lyndsie.r.schmalz@usdoj.gov

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
     Response to Section 2241 Petition — 14                     UNITED STATES ATTORNEY
     Parviz v. Barron, C23-1407-JHC-DWC                        700 STEWART STREET, SUITE 5220
                                                                 SEATTLE, WASHINGTON 98101
                                                                       (206) 553-7970
         Case 2:23-cv-01407-JHC-DWC Document 42 Filed 03/07/24 Page 15 of 15




1                                     CERTIFICATE OF SERVICE
2           I hereby certify that on March 7, 2024, I electronically filed the foregoing with the
3 Clerk of the Court using the CM/ECF system, and to be served on the Petitioner, Mahsa
4 Parviz who is proceeding pro se, by First Class Mail to the following address:
5
6           Masha Parviz, Registration No. 54652-509
            FDC SeaTac
7           Federal Detention Center
8           P.O. Box 13900
            Seattle, WA 98198
9
10
11
                                                       s/ John M. Price
12                                                    JOHN M. PRICE
                                                      Paralegal Specialist
13                                                    United States Attorney’s Office
14                                                    700 Stewart Street, Suite 5220
                                                      Seattle, Washington 98101
15                                                    Phone: (206) 553-7970
16
17
18
19
20
21
22
23
24
25
26
27
     Response to Section 2241 Petition — 15                         UNITED STATES ATTORNEY
     Parviz v. Barron, C23-1407-JHC-DWC                            700 STEWART STREET, SUITE 5220
                                                                     SEATTLE, WASHINGTON 98101
                                                                           (206) 553-7970
